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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION

U.S. BANKNATIONAL
ASSOCIATION, not in its individual
capacity but solely as tmstee for the
RMAC TRUST, SERIES 2016-CTT,

       Plaintiff,
                                                         No. 5:22-CV-093-H


GLOzuA HELLER, et al.,

       Defendants
                             FINAL      EFAI,.I,T JUD MENT

       The Court issues this final default judgment in accordance with its Order granting

U.S. Bank's Motion for Default Judgment and pursuant to Federal Rule of Civil Procedure

58. The Cour thus renders default judgment in favor of u.S. Bank, and the following are

ordered, adjudged, and decreed:

       1.       The material allegations of the complaint are deemed admitted as to Gloria

Hel1er (the Defendant).

       2.       An event of default has occurred on the Loan Repayment and Securiry

Agreement in the principal amount of $81,789.56 (the Note) originally payable to Beneficial

Texas, Inc. (Beneficial) as lender on a loan secured by the Property, executed by Rosita A.

Blair (the Borrower).

        3.      The Mortgage executed by the Borrower (the Securiry Agreement, and

together with the Note, the Loan Agreement), Iecorded in the official public records
                                                                                        of

                                                                                 (the Plaintiff;
 Lubbock County, Texas under Document No. 23624 provides that U.S. Bank

 is the current owner of the Note and mortgagee of the Security Instrument, in
                                                                                 the event of a
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default on the obligations on the Note, with a lien securify ilterest on that certain real

property commonly known as 5624 Amherst Street, Lubbock,Texas 79416, and more

partrcularly described as follows :

       LOT TWO HUNDRED TWENTY-NINE (229), WEST WIND ADDITION
       TO THE CITY OF LUBBOCK, LUBBOCK COUNTY, TEXAS,
       ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN
       VOLUME 1337, PAGE 431, OF THE DEED RECORDS OF LUBBOCK
       COUNTY, TEXAS,

(The Property).

       4.      The Plailtiff is the current lega1 owner and holder of the Note and beneficiary

of the Securiry Instrument. The Plaintiff is also a mortgagee as that term is defined in

Section 51.0001(4) ofthe Texas Property Code.

       5.      The fotlowing are secured by the Securiry Instrument on the Property: the

outstanding balance of the Note, including attomey's fees; pre-judgment interest at the Note

interest rate of 8.638%; post-judgment intelest at the federal rate pulsuant to 28 U.S.C.

$ 1961; and costs ofcourt.

        6.     The Plaintiff or its successors or assigrs, may proceed with non-.iudicial

foreclosure of the Defendant's interest in the Property as provided in the Security

Instrument and Section 51.002 of the Texas Property Code.

        7.      Should the Plaintiff proceed with foreclosure on the Property, then the

purchaser at the foleclosure sale will be vested with all of the Defendant's interest, rights,

and title in the Property.

        8.      The Plaintiff may communicate with the Defendant and all third parties

as reasonably necessary to conduct the foreclosure sale.




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       9.     Al1 costs are to be taxed against the Defendant as a further obligarion of the

debt, and not as a personal judgment against the Defendant.

       10. Upon the entering ofthe agreed partial judgment and this final default
judgment, all claims between the Plaintiff and all of the defendants are fully and finally

resolved.

       Any relief not specifically granted in this judgment is denied. This judgment is final

and appealable.

       So ordered on March 71, ,zozt




                                            JAMES          LEY HENDRIX
                                                       STATES DISTRICT JUDGE




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